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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 FT. LAUDERDALE DIVISION

  NICHOLE MENDEZ, on behalf of herself and
  others similarly situated,                                  Case No.: 0:20-cv-61892-WPD

              Plaintiff,

  v.

  HEALTHCARE           REVENUE       RECOVERY
  GROUP, LLC,

           Defendant.
  _____________________________________/

   DEFENDANT, HEALTHCARE REVENUE RECOVERY GROUP, LLC’S ANSWER
        AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

         COMES NOW, Defendant, Healthcare Revenue Recovery Group, LLC (“Defendant” or

 “HRRG”), by and through its undersigned counsel, hereby files its Answer and Affirmative

 Defenses to Plaintiff, Nichole Mendez’s Complaint, [DE 1], and states the following:

                                         Nature of the Action

         1.      Admitted to the extent of claims identifications under the provisions of the

 Telephone Consumer Protection Act (“TCPA”) and Fair Debt Collection Practices Act

 (“FDCPA”). Otherwise denied; HRRG demands strict proof thereof.

         2.      Admitted to the extent that Section 227(b)(1)(A)(iii) of the TCPA is self-evident in

 its entirety and, thus, denied as to any aspects or interpretations other than the plain full reading of

 correspondence; otherwise denied.

         3.      Denied; Defendant demands strict proof thereof.
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        4.      Admitted to the extent that Section 1692d of the FDCPA is self-evident in its

 entirety and thus denied as to any aspects or interpretations other than the plain full reading of

 correspondence; otherwise denied.

        5.      Denied; Defendant demands strict proof thereof.

                                           Jurisdiction

        6.      Admitted for purposes of jurisdiction; otherwise denied.

        7.      Admitted for purposes of venue only; otherwise denied.

                                              Parties

        8.      Admitted for purpose of jurisdiction and venue only; otherwise denied.

        9.      Unknown at this time; therefore denied.

        10.     Admitted for purpose of jurisdiction and venue only; otherwise denied.

        11.     Admitted.

        12.     Admitted.

        13.     Admitted.

        14.     Admitted to the extent that the HRRG’s website contains the required disclosure

 pursuant to Section 1692e(11); otherwise denied at this time.

                                       Factual Allegations

        15.     Unknown at this time; therefore, denied.

        16.     Unknown at this time; therefore, denied.

        17.     Unknown at this time; therefore, denied.

        18.     Unknown at this time; therefore, denied.

        19.     Unknown at this time; therefore, denied.

        20.     Unknown at this time; therefore, denied.



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        21.    Unknown at this time; therefore, denied.

        22.    Unknown at this time; therefore, denied.

        23.    Unknown at this time; therefore, denied.

        24.    Unknown at this time; therefore, denied.

        25.    Unknown at this time; therefore, denied.

        26.    Unknown at this time; therefore, denied.

        27.    Denied.

        28.    Denied.

        29.    Unknown at this time; therefore, denied.

        30.    Unknown at this time; therefore, denied.

        31.    Unknown at this time; therefore, denied.

        32.    Unknown at this time; therefore, denied.

        33.    Admitted to the extent that HRRG does not place telephone calls which would be

 deemed “emergency” as defined by the TCPA; otherwise, denied. Defendant demands strict proof

 thereof.

        34.    Unknown at this time; therefore, denied.

        35.    Unknown at this time; therefore, denied.

        36.    Unknown at this time; therefore, denied. Defendant demands strict proof thereof.

        37.    Denied; Defendant demands strict proof thereof.

                                   Class Action Allegations

        38.    Denied; Defendant demands strict proof thereof.

        39.    Denied; Defendant demands strict proof thereof.

        40.    Denied; Defendant demands strict proof thereof.



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       41.    Denied; Defendant demands strict proof thereof.

       42.    Denied; Defendant demands strict proof thereof.

       43.    Denied; Defendant demands strict proof thereof.

       44.    Denied; Defendant demands strict proof thereof.

       45.    Denied; Defendant demands strict proof thereof.

       46.    Denied; Defendant demands strict proof thereof.

       47.    Denied; Defendant demands strict proof thereof.

       48.    Denied; Defendant demands strict proof thereof.

       49.    Denied; Defendant demands strict proof thereof.

       50.    Denied; Defendant demands strict proof thereof.

       51.    Denied; Defendant demands strict proof thereof.

       52.    Denied; Defendant demands strict proof thereof.

       53.    Denied as to each part and subpart; defendant demands strict proof thereof.

       54.    Denied; Defendant demands strict proof thereof.

                       Count I: Violations of 47 U.S.C. § 227(b)(1)(A)(iii)

       55.    Defendant re-asserts and incorporates its responses to the allegations contained in

 paragraphs 1−54.

       56.    Denied; Defendant demands strict proof thereof.

       57.    Denied; Defendant demands strict proof thereof.

                    Count II: Violations of 15 U.S.C. § 1692d and § 1692d(5)

       58.    Defendant re-asserts and incorporates its responses to the allegations contained in

 paragraphs 1−57.

       59.    Denied; Defendant demands strict proof thereof.


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        60.     Denied; Defendant demands strict proof thereof.

        61.     Denied; Defendant demands strict proof thereof.

                                           JURY DEMAND

        Defendant demands trial by jury for any remaining issue following the determination of

 any dispositive motions.

                                   AFFIRMATIVE DEFENSES

 First Affirmative Defense

        Defendant affirmatively alleges that Defendant is not liable for the alleged actions or

 inactions of other third parties, and/or any of their employees, agents, or principals.

 Second Affirmative Defense

        Defendant affirmatively alleges that to the extent that any allegations exceed one (1) year

 from the date of filing of the Complaint, such claims or allegations are barred by the statute of

 limitations under the Fair Debt Collection Practices Act (“FDCPA”).

 Third Affirmative Defense

        Defendant affirmatively alleges that the alleged actions of Defendant and its agents and

 employees are protected by the “bona fide error” defense pursuant to the Fair Debt Collection

 Practices Act, Section 1692d since such actions or inactions, if they occurred, were not intentional

 and resulted from a bona fide error notwithstanding the Defendant’s maintenance of procedures

 reasonably adapted to avoid such error.

 Fourth Affirmative Defense

        Defendant affirmatively alleges that Defendant lacks the requisite intent under Section

 1692d(5).




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 Fifth Affirmative Defense

          Plaintiff is not entitled to recover any damages, or any recovery awarded should be reduced

 by the amount of damages which reasonably could have been avoided, because Plaintiff failed to

 take reasonable steps to mitigate her damages with respect to the matters alleged in the Complaint.

 Sixth Affirmative Defense

          Even assuming arguendo that HRRG violated the TCPA, as alleged in the Complaint,

 which presupposition HRRG denies, such violation was not intentional.

 Seventh Affirmative Defense

          Defendant affirmatively alleges that to the extent that any allegations exceed four (4) years

 from the date of filing the Complaint, such claims or allegations are barred by the statute of

 limitations under the Telephone Consumer Protection Act (“TCPA”).

 Eighth Affirmative Defense

          Defendant affirmatively alleges that the telephone equipment utilized by the Defendant is

 not an “Automatic Telephone Dialing System” as defined by the TCPA in accordance with the

 holding of Glasser v. Hilton Grand Vacation Co., LLC, 948 F. 3d 1301, 1312−1313 (11th Cir.

 2020).

 Ninth Affirmative Defense

          Defendant affirmatively alleges that HRRG had prior express consent to contact the

 Plaintiff as well as any other claimed individual as defined in the purported TCPA class.

 Tenth Affirmative Defense

          Defendant HRRG asserts that the U.S. Supreme Court's fractured decision in Barr v. Am.

 Ass'n of Political Consultants (AAPC), 140 S. Ct. 2335, 207 L. Ed. 2d 784 (2020) amounts to an

 adjudication that the entirety of § 227(b)(1)(A)(iii) was unconstitutional from the moment


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 Congress enacted the offending government-debt exception to the moment the Court severed that

 exception to preserve the rest of the law in AAPC on July, 6, 2020, therefore Plaintiff’s allegations

 of alleged violations of an unconstitutional law are not enforceable in federal court. Id.

        WHEREFORE, Defendant, HEALTHCARE REVENUE RECOVERY GROUP, LLC,

 request that this Court dismiss Plaintiff’s Complaint, and that HRRG be awarded reasonable

 attorneys’ fees and costs as provided for under applicable law.

        Dated this 12th day of October, 2020.

                                               Respectfully submitted,


                                               /s/_Ernest H. Kohlmyer, III
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on October

 14, 2020, with the Clerk of the Court by using the electronic filing system. I further certify that the

 foregoing has been sent via electronic transmission to the following: Michael L. Greenwald,

 Esquire and Aaron D. Radbil, Esquire of Greenwald Davidson Radbil, PLLC                              at

 mgreenwald@gdrlawfirm.com and aradbil@gdrlawfirm.com (Attorneys for Plaintiff).


                                                /s/_Ernest H. Kohlmyer, III
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